     2:19-cv-00366-RMG         Date Filed 11/12/20      Entry Number 130       Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Andrew Green and Shirley Green, as legal)                   Civil Action No. 2:19-00366-RMG
guardians of N.G. (a minor child) and   )
Andreia Samoria Green                   )
                                        )
                     Plaintiffs,        )
                                        )
       v.                               )                          ORDER
                                        )
Kanye West; Getting Out Our Dreams, II, )
LLC; UMG Recordings, Inc. a/k/a         )
Universal Music Group; Def Jam          )
Recordings; Cydel Young d/b/a Mr. Redan )
Music a/k/a Mr. Redan; BMG Rights       )
Management (US), LLC a/k/a BMG          )
Platinum Songs US and John Does 1-30,   )
                                        )
                     Defendants.        )
____________________________________)

    I. Background
       This matter is before the Court upon Plaintiffs’ Motion to Seal pursuant to South

Carolina Local Rules 1.02 and 5.03. (Dkt. No. 129). Plaintiffs seek leave to file under seal their

Petition for Approval of Minor Settlement. (Id.). Defendants Kanye West, Getting Out Our

Dreams, II, LLC, UMG Recordings, Inc. a/k/a Universal Music, and Def Jam Recordings

(“Defendants”) have consented to the instant motion. For the reasons set forth below, the Court

denies Plaintiffs’ Motion to Seal. (Dkt. No. 129).

    II. Discussion
       Plaintiffs seek leave to file under seal an unredacted Petition for Approval of Minor

Settlement to maintain the confidentiality of: the settlement amount; Plaintiffs’ settlement

proceeds; and attorney’s fees and litigation expenses. Plaintiffs seek leave to file in the public

record a Petition redacting these settlement terms. (Dkt. No. 129-1). Plaintiffs separately


1
     2:19-cv-00366-RMG        Date Filed 11/12/20     Entry Number 130        Page 2 of 4




submitted the sealed Petition for the Court’s review in camera. Plaintiffs argue there is good

cause to seal the Petition to protect the minor child, N.G., from unwanted media attention and

from those who may wish to influence the results of the settlement or seek to invade it. (Dkt.

No. 129 at 2-4).

       The District of South Carolina Local Civil Rule 5.03, governs the filing of documents

under seal.   The Rule states that a party seeking to file documents under seal shall file

a motion and a memorandum, which shall:

       “(1) identify, with specificity, the documents or portions thereof for which sealing is
       requested; (2) state the reasons why sealing is necessary; (3) explain (for each document
       or group of documents) why less drastic alternatives to sealing will not afford adequate
       protection; and (4) address the factors governing sealing of documents reflected in
       controlling case law. E.g., Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000);
       In re Knight Publ’g Co., 743 F.2d 231, 235 (4th Cir. 1984).” D.S.C. Local Civ. R. 5.03
       (A).

       The Local Rule also provides that “[t]he Clerk shall provide public notice of

the Motion to Seal in the manner directed by the Court . . . this may be accomplished by

docketing the motion in a manner that discloses its nature as a motion to seal.” D.S.C. Local

Civ. R. 5.03 (D). The Local Rule specifies that “[n]o settlement agreement filed with the court

shall be sealed pursuant to the terms of this rule.” D.S.C. Local Civ. R. 5.03 (E). Local Rule

1.02 allows the Court to suspend or modify any Local Civil Rule for good cause shown. D.S.C.

Local Civ. R. 1.02.

       The Supreme Court recognized a common law right to inspect and copy judicial records

and documents in Nixon v. Warner Communications, Inc., 435 U.S. 589, 597 (1978). This right

is not absolute, however, and the court may, in its discretion, “seal documents if the public’s

right of access is outweighed by competing interests,” but the “presumption” in such cases

favors public access. In re Knight Publ’g Co. 743 F.2d at 235; Stone v. University of Maryland

2
     2:19-cv-00366-RMG          Date Filed 11/12/20        Entry Number 130       Page 3 of 4




Medical System Corp. 855 F.2d 178 (4th Cir. 1988) (noting that the public’s right of access to

judicial records and documents may only be abrogated in unusual circumstances.).

       The Court applied these standards to the case at hand and finds that Plaintiffs have not

established that the financial information they seek to keep confidential outweighs the public’s

common law interest in accessing judicial records. The Petition does not contain reference to

any proprietary information, trade secrets, or medical information.         In addition, Plaintiffs’

memorandum only states that sealing the Petition is the least restrictive means of protecting the

settlement information. (Dkt. No. 29 at 2). The Petition does not explain why less drastic

alternatives to sealing will not afford adequate protection. D.S.C. Local Civ. R. 5.03(A). In

addition, Plaintiffs broadly assert that if the Petition is not filed under seal, the identity of the

minor child may be revealed and the minor child may be harmed by unwanted media attention or

by those who seek to influence the settlement. Yet, these are conclusory assertions that do not

establish good cause for the Court to suspend or modify the Local Rule regarding secret

settlements.1 As such, the Plaintiffs’ motion is denied.

    III.Conclusion

       For the reasons stated above, Plaintiffs’ motion is DENIED. (Dkt. No. 29). Plaintiffs

are instructed to file the unredacted Petition for Approval of Minor Settlement within seven (7)

days of this Order.

       AND IT IS SO ORDERED.




                                                      s/Richard Mark Gergel

1
 The Petition does not reveal the identity of the minor child as it only refers to the minor child
by initials.
3
    2:19-cv-00366-RMG        Date Filed 11/12/20   Entry Number 130       Page 4 of 4




                                               Richard Mark Gergel
                                               United States District Judge

November 11, 2020
Charleston, South Carolina




4
